Case 1:24-bk-10646-MB       Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29        Desc
                             Main Document     Page 1 of 8


 1   STEVEN T. GUBNER – Bar No. 156593
     DAVID M. POITRAS – Bar No. 141309
 2   BG LAW LLP
     21650 Oxnard Street, Suite 500
 3   Woodland Hills, CA 91367
     Telephone: (818) 827-9000
 4   Facsimile: (818) 827-9099
     Email:     sgubner@bg.law
 5              dpoitras@bg.law
 6   Attorneys for Evolve Bank & Trust
 7                           UNITED STATES BANKRUPTCY COURT
 8                            CENTRAL DISTRICT OF CALIFORNIA
                               SAN FERNANDO VALLEY DIVISION
 9
      In re                                           Case No. 1:24-bk-10646-MB
10
      SYNAPSE FINANCIAL TECHNOLOGIES,                 Chapter 11
11    INC.,
                                                      STATEMENT OF EVOLVE BANK &
12                                                    TRUST IN SUPPORT OF DEBTOR’S
                                                      EMERGENCY MOTION FOR APPROVAL
13                 Debtor and Debtor-in-Possession.   OF COMPROMISE OF CONTROVERSY
                                                      WITH EVOLVE BANK & TRUST
14                                                    PURSUANT TO RULE 9019 OF THE
                                                      FEDERAL RULES OF BANKRUPTCY
15                                                    PROCEDURE
16

17                                                    Hearing:
                                                      Date:   May 9, 2024
18                                                    Time: 9:00 a.m.
                                                      Place: Courtroom 303
19                                                           21041 Burbank Boulevard
                                                             Woodland Hills, CA 91367
20

21

22

23

24

25

26

27

28



     2983015
Case 1:24-bk-10646-MB            Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29                Desc
                                  Main Document     Page 2 of 8


 1   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES BANKRUPTCY JUDGE,

 2   THE DEBTOR, THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,

 3   SECURED CREDITORS, THE PROPOSED BUYER, THE OFFICE OF THE UNITED

 4   STATES TRUSTEE, AND INTERESTED PARTIES:

 5             Evolve Bank & Trust (“Evolve”), the counter-party with Synapse Financial Technologies,

 6   Inc., the debtor and debtor-in-possession herein (the “Debtor”) concerning the Debtor’s Emergency

 7   Motion for Approval of Compromise of Controversy with Evolve Bank & Trust Pursuant to Rule

 8   9019 of the Federal Rules of Bankruptcy Procedure (the “9019 Motion”)[Docket No. 9], the

 9   Declaration of Tracey Guerin in Support of All of the Debtor’s Motion to Approve Settlement with

10   Evolve Bank & Trust Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

11   “Guerin Decl.”)[Docket No. 10], the Notice of Hearing on Debtor’s Emergency Motion for Approval

12   of Compromise of Controversy with Evolve Bank & Trust Pursuant to Rule 9019 of the Federal

13   Rules of Bankruptcy Procedure (the “9019 Notice”)[Docket No. 75], and the Notice of: (1)

14   Assumption and Assignment of Executory Contracts and Unexpired Leases; (2) Establishment of

15   Cure Amounts in Connection Therewith; (3) Procedures and Deadlines Regarding Oppositions to

16   Assumption and Assignment, and Cure Amounts; and (4) Hearing Thereon (the “Executory Contract

17   Notice”)[Docket No. 74], provides the following in support of the 9019 Motion.

18             The Debtor filed this chapter 11 case on April 22, 2024 (the “Petition Date”). In addition to

19   the 9019 Motion, on the Petition Date, the Debtor filed emergency motions for: (a) An Interim

20   Order: (I) Authorizing the Debtor to Use Cash Collateral; (II) Granting Adequate Protection; (III)

21   Scheduling a Final Hearing; and (IV) Related Relief [Docket No. 2], (b) Entry of an Order: (I)

22   Authorizing the Continued Use of its Cash Management System; (II) Authorizing the Maintenance of

23   Certain Pre-Petition Bank Accounts and (III) Authorizing Banks to Release Administrative Holds

24   and/or Freezes on the Debtor’s Pre-Petition Accounts [Docket No. 6], (c) Entry of an Order

25   Authorizing Debtor to Honor and/or Pay Pre-Petition Wages, Salaries, Commissions, and Vacation,

26   Leave and Other Benefits, Reimbursable Expenses, Payroll Taxes and Workers’ Compensation

27   Insurance Costs [Docket No. 7], (d) Entry of an Order (A) Approving Sale of Substantially All of the

28   Debtor’s Assets Free and Clear of All Liens, Claims, Interests and Encumbrances; (B) Approving


                                                         1
     2983015
Case 1:24-bk-10646-MB          Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29                Desc
                                Main Document     Page 3 of 8


 1   Assumption and Assignment of Unexpired Leases and Executory Contracts and Determining Cure

 2   Amounts; (C) Waiving the 14-Day Stay Periods of Bankruptcy Rules 6004(h) and 6006(d); and (D)

 3   Granting Related Relief (the “Sale Motion”)[Docket No. 8], (e) Entry of an Order (A) Approving

 4   Bidding Procedures with Respect to the Transfer and Sale of Substantially All of the Debtor’s

 5   Assets; (B) Approving Bidding Protections for the Stalking Horse Bidder; (C) Approving Procedures

 6   Related to the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases;

 7   (D) Approving the Form and Manner of Notices Related to the Auction and Sale; (E) Scheduling the

 8   Sale Hearing; and (F) Granting Related Relief [Docket No. 11], and (f) the Declaration of Sankaet

 9   Pathak in Support of All of the Debtor’s “First-Day Motions” (the “Pathak Decl.”)[Docket No.

10   12](collectively referred to hereinafter (along with the 9019 Motion) as the “Emergency Motions”).

11   The initial hearings on the Emergency Motions were set for April 24, 2024, and the hearings were

12   continued to April 26, 2024 and then April 29, 2024. At the April 26, 2024 hearings, the Court set

13   the hearings on approval of the Sale Motion and the 9019 Motion for May 9, 2024 at 9:00am, and

14   ordered that any objections to the Sale Motion and the 9019 Motion be filed by May 7, 2024 at

15   5:00pm, and any reply to any objections to the Sale Motion and the 9019 Motion be filed by May 8,

16   2024 at 5:00pm. By the Sale Motion, the Debtor seeks to sell substantially all of its assets, free and

17   clear of all liens, claims and encumbrances to TabaPay Holdings, LLC (“Taba”), pursuant to the

18   Asset Purchase Agreement (“APA”) attached to the Pathak Decl. as Exhibit 9. Under the APA,

19   express conditions to closing include, among other things: (i) Evolve to ensure that all account

20   balances of End-Users in FBO Accounts are fully funded to Taba’s satisfaction, (ii) Evolve to

21   execute a letter agreement, in form and substance satisfactory to Taba, pursuant to which, Evolve

22   unconditionally consents in all respects to the consummation of the transactions contemplated by the

23   APA subject only to Bankruptcy Court approval; and (iii) the Bankruptcy Court’s approval of the

24   9019 Motion (pursuant to the APA, the Debtor cannot close the sale to Taba unless the Bankruptcy

25   Court approves the 9019 Motion).

26

27

28


                                                        2
     2983015
Case 1:24-bk-10646-MB           Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29                Desc
                                 Main Document     Page 4 of 8


 1             A.     Effectiveness of Relief Sought in the 9019 Motion.

 2             The Settlement Agreement between Evolve and the Debtor provides that the Effective Date

 3   of the Settlement Agreement shall occur upon entry of an order of the Bankruptcy Court approving

 4   the 9019 Motion (and the Bankruptcy Court approving a waiver of the fourteen day appeal period).1

 5   Pursuant to the Settlement Agreement, the Effective Date is not conditioned upon or otherwise tied

 6   to the sale to Taba closing. Pursuant to the Settlement Agreement, the mutual general releases

 7   between the parties become effective on the later of the Funding Date2 and the Effective Date.

 8             Notwithstanding that the Effective Date of the Settlement Agreement is not conditioned upon

 9   or otherwise tied to the sale to Taba closing, the Debtor and TriplePoint Capital, LLC (the junior

10   secured lender to the Debtor) sought Evolve’s agreement to modify the Settlement Agreement to

11   condition the effectiveness of the Settlement Agreement upon the closing of the sale to Taba.

12   Evolve hereby notifies the Court and parties in interest that it agrees to modify the Settlement

13   Agreement to condition the effectiveness of the Settlement Agreement upon the sale to Taba closing.

14             B.     Current Breakdown of the Reserve Funds.

15             The Settlement Agreement, in the recitals on page 1, references “Evolve’s funding,

16   withdrawal and use of funds totaling $43,225,506.73 in, to and from the Reserve Account (“Reserve

17   Funds”). During the course of discussions between Evolve, the Debtor and Taba, Evolve let it be

18   known that a portion of the Reserve Funds were moved by Evolve pursuant to the Master Bank

19   Services Agreement between the Debtor and Evolve (the “MBSA”)(executory contract number 98 on

20   the Executory Contract Notice). In the interests of providing additional disclosure in the leadup to

21   the May 9, 2024 hearing on the 9019 Motion, Evolve hereby sets forth the current breakdown of the

22   Reserve Funds and Evolve’s contractual entitlement to use the Reserve Funds to cover losses,

23

24

25   1
      The Settlement Agreement is attached to the Guerin Decl. as Exhibit 1.
     2
26    As a condition precedent to the releases provided in section 2 of the Settlement Agreement, no
   later than April 24, 2024 (the “Funding Date”)(unless the Funding Date is extended by mutual
27 agreement of the Debtor and Evolve), Evolve shall fund the FBO Accounts, shall ensure that all
   account balances of End-Users in FBO Accounts are fully funded, and shall provide reasonable
28 evidence to the Debtor of same (the “Evolve Funding”). The Funding Date has been extended to
   May 8, 2024.

                                                        3
     2983015
Case 1:24-bk-10646-MB           Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29               Desc
                                 Main Document     Page 5 of 8


 1   deficiencies, and amounts owed or due under the MBSA, and the movement of the Reserve Funds to

 2   cover such losses, deficiencies, and amounts owed or due under the MBSA.

 3             Prior to April 8, 2024, the Reserve Funds were maintained in the Program Manager Reserve

 4   Account, which is a “a segregated account at Bank in the name of Bank” required by Section 13(a)

 5   of the MBSA. The MBSA further defines the term “Program Manager Reserve Account” as “a non-

 6   interest bearing demand deposit account established by Bank to fund certain of Program Manager’s

 7   obligations to Bank.”3 In conformance with the terms of the MBSA, the account was established by

 8   Evolve, in the name of Evolve, for the purpose of creating a Program Manager Reserve Account.

 9             Section 13(b) of the MBSA provides that the Reserve Funds may be accessed as follows:

10   “Bank will have the right to access the funds in the Program Manager Reserve Account to offset any

11   deficiency in any amount owed to Bank by Program Manager or any losses that Program Manager is

12   liable for under this Agreement.” Section 13(b) of the MBSA additionally provides that the Bank is

13   authorized to withdraw Reserve Funds from the Program Manager Reserve Account to cover

14   amounts due or owed under the MBSA: “Program Manager authorizes Bank, and irrevocably

15   appoints Bank as its attorney-in-fact, to withdraw funds from the Program Manager Reserve

16   Account to cover any amounts due under this Agreement, including but not limited to actual and

17   potential losses, or any amounts owed under this Agreement or under other agreements between

18   Bank and Program Manager.” Neither Synapse nor any party other than Evolve has the authority or

19   ability to access or withdraw funds from the Program Manager Reserve Account.

20             Separately, Section 7(o)(iv) of the MBSA contemplates the establishment of an omnibus

21   custodial account owned by Evolve, in which Evolve holds End User Deposits for the benefit of End

22   Users (“End User FBO Account”). Prior to April 8, 2024, Evolve was made aware that the APA

23   would require End User account balances in the End User FBO Account to be fully funded to Taba’s

24   satisfaction. In addition, prior to April 8, 2024, Evolve learned that another deposit account, which

25   was the account designated for receiving payments owed by Debtor to Evolve under the MBSA

26   (“Evolve Fee Account”), was overdrawn by $5,401,777.28. Evolve determined that the negative

27

28
     3
         The Debtor is the Program Manager under the MBSA.

                                                       4
     2983015
Case 1:24-bk-10646-MB             Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29                  Desc
                                   Main Document     Page 6 of 8


 1   balance was due to Debtor’s obligations under the MBSA to pay certain fees to Evolve in exchange

 2   for banking services. Also prior to April 8, 2024, Evolve determined that it reasonably expected to

 3   incur potential losses of up to $2,500,000 in connection with winding down its relationship with

 4   Debtor, including legal fees and other expenses.

 5             Accordingly, on April 8, 2024, in recognition and anticipation of these actual and potential

 6   losses, deficiencies, and amounts owed and/or due, Evolve exercised its exclusive and unilateral

 7   authority under Section 13(b) of the MBSA to access and withdraw the Reserve Funds from the

 8   Program Manager Reserve Account, and Evolve moved such funds to (i) the FBO Account, to cover

 9   a deficiency of at least $35,322,630.78, (ii) the Evolve Fee Account, to cover losses and a deficiency

10   of $5,401,777.28, and (iii) an expense payable account, to cover potential losses of $2,500,000 that

11   Evolve has or reasonably expects to incur in connection with winding down its relationship with

12   Debtor. In so doing, Evolve acted entirely within its pre-petition contractual rights under the MBSA.

13             Finally, Evolves notes that it is a fully perfected secured creditor in respect of funds in the

14   Program Manager Reserve Account. Section 13(c) of the MBSA grants to Evolve “a first priority

15   security interest in the Program Manager Reserve Account and the funds therein or proceeds

16   thereof,” and additionally confirms that Evolve has “control” of the Program Manager Reserve

17   Account, thereby perfecting Evolve’s security interest under the laws of the state of Tennessee,

18   which is the governing law under Section 43(a) of the MBSA.

19             In sum, Evolve submits this Statement to apprise the Court and parties-in-interest of (i)

20   Evolve’s willingness to condition the effectiveness of the Settlement Agreement upon the sale to

21   Taba closing, and (ii) the movement of the Reserve Funds pursuant to the MBSA.

22   DATED: May 6, 2024                                 Respectfully submitted,
23                                                      BG LAW LLP
24
                                                        By: /s/ David M. Poitras
25                                                           Steven T. Gubner
                                                             David M. Poitras
26                                                      Attorneys for Evolve Bank & Trust
27

28


                                                           5
     2983015
       Case 1:24-bk-10646-MB                     Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29                                       Desc
                                                  Main Document     Page 7 of 8


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard Street, Suite 500, Woodland Hills, CA 91367.

A true and correct copy of the foregoing document entitled: STATEMENT OF EVOLVE BANK & TRUST IN SUPPORT OF
DEBTOR’S EMERGENCY MOTION FOR APPROVAL OF COMPROMISE OF CONTROVERSY WITH EVOLVE BANK &
TRUST PURSUANT TO RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
May 6, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On ___________, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
**JUDGE’S COPY NOT REQUIRED IF LESS THAN 25 PAGES (GENERAL ORDER 23-01).




                                                                                 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on May 6, 2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                     VIA EMAIL

Kroll Associates, Inc.                                                                 Mercury Technologies, Inc.
Attn. Heather Elizabeth Saydah                                                         Attn. Celeste Ferber
55. East 52nd Street, 17th Floor                                                       333 Bush Street, Suite 1900
New York, NY 10055                                                                     San Francisco, CA 94104
Heather.saydah@kroll.com                                                               ccleste@mercury.com


                                                                                 Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


May 6, 2024                                   Mela Galvan                                     /s/ Mela Galvan
Date                                          Printed Name                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
       Case 1:24-bk-10646-MB                     Doc 106 Filed 05/06/24 Entered 05/06/24 18:46:29                                       Desc
                                                  Main Document     Page 8 of 8


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

 Ron Bender rb@lnbyg.com
 Russell Clementson russell.clementson@usdoj.gov
 Andrew Michael Cummings andrew.cummings@hklaw.com,
        philip.dobbs@hklaw.com;hapi@hklaw.com;reena.kaur@hklaw.com
 Michael G. Farag mfarag@gibsondunn.com
 Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
 Steven T Gubner sgubner@bg.law, ecf@bg.law
 Robert T. Honeywell robert.honeywell@klgates.com
 Lance N Jurich ljurich@loeb.com,
        pmatsuda@loeb.com;ladocket@loeb.com;ljurich@ecf.courtdrive.com;fmckeown@loeb.com
 Monica Y Kim myk@lnbyg.com, myk@ecf.inforuptcy.com
 Jeffrey C Krause jkrause@gibsondunn.com, dtrujillo@gibsondunn.com;jstern@gibsondunn.com
 Adam A Lewis alewis@mofo.com, adam-lewis-3473@ecf.pacerpro.com
 Krikor J Meshefejian kjm@lnbyg.com
 David M Poitras dpoitras@bg.law
 Brandy A Sargent brandy.sargent@klgates.com, litigation.docketing@klgates.com;janna.leasy@klgates.com
 Jason D Strabo jstrabo@mwe.com, jbishopjones@mwe.com
 United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 Jeffrey C Wisler jwisler@connollygallagher.com, dperkins@connollygallagher.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                          F 9013-3.1.PROOF.SERVICE
